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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA


  WILLIAM RABORN,                                       )
                                                        )
                         Plaintiff,                     )
                                                        )
  v.                                                    )       Case No. 16-CV-0653-CVE-JFJ
                                                        )
  DAVID JOHNSTON and                                    )
  COVENANT TRANSPORT, INC.,                             )
                                                        )
                         Defendants.                    )


                          ORDER OF DISMISSAL WITH PREJUDICE

         This matter comes on for consideration of Plaintiff’s Unopposed Application for Order of

  Dismissal with Prejudice (Dkt. # 54). Plaintiff states that the parties have reached a settlement, and

  he asks the Court to dismiss his claims with prejudice. Under Fed. R. Civ. P. 41(a)(2), a court may

  dismiss a case on terms that the court considers proper. The Court has reviewed plaintiff’s motion

  (Dkt. # 54) and finds that it should be granted.

         IT IS THEREFORE ORDERED that Plaintiff’s Unopposed Application for Order of

  Dismissal with Prejudice (Dkt. # 54) is granted, and plaintiff’s claims are dismissed with

  prejudice. This is a final order terminating this case.

         DATED this 5th day of December, 2017.
